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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 JEROME HARDENE,                               )
                                               )
                Plaintiff,                     )
                                               )
        v.                                     )             No. 4:22-CV-1229-AGF
                                               )
 ST. LOUIS PUBLIC LIBRARY, et al.,             )
                                               )
                Defendants.                    )

                               MEMORANDUM AND ORDER

       This matter is before the Court upon plaintiff Jerome Hardene’s filing of the name and

service of process address for defendant Sheriff Jane Doe. ECF No. 11. Because plaintiff is

proceeding in forma pauperis, the Court will direct the Clerk of Court to effectuate service of

process through the United States Marshal’s Office, using the name and address provided in docket

number 11. See Fed. R. Civ. P. 4(c)(3).

       Accordingly,

       IT IS HEREBY ORDERED that the Clerk of Court shall effectuate service of process via

the United States Marshal’s Office upon defendant Sheriff Jane Doe, now identified as Vanessa

Keys, at the address provided in docket number 11.

       Dated this 3rd day of March, 2023.




                                                AUDREY G. FLEISSIG
                                                UNITED STATES DISTRICT JUDGE
